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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS



UNITED STATES OF AMERICA,

      Plaintiff,

v.

JOHN McCRAY, Sr.,

      Defendant.                                      Case No. 05-cr-30027-DRH




                           MEMORANDUM & ORDER


HERNDON, District Judge:


            Before the Court is defendant John McCray, Sr.’s Request and Motion

for Material the Government Intends to Offer Pursuant to Rule 404(b) of the Federal

Rules of Evidence (Doc. 161). The Government has filed a Response (Doc. 176) to

McCray’s Motion, stating that the Rule 404(b) information intended for use at trial

was previously provided to McCray’s counsel via a letter, dated October 14, 2005,

which is attached to the Response. Further, in an effort for continued compliance

in the event such letter is not seen as a sufficient Rule 404(b) disclosure, the

Government makes this disclosure part of          its Response.   McCray has not

communicated further that such disclosure is inadequate. Therefore, as McCray’s


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request has already been fulfilled, the Court hereby FINDS AS MOOT the instant

Motion (Doc. 176).

            IT IS SO ORDERED.

            Signed this 25th day of October, 2006.

                                                     /s/     David RHerndon
                                                     United States District Judge




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